Case 1:11-cv-07550-GBD-SN Document 372-6 Filed 03/03/22 Page 1 of 2




                   EXHIBIT 6
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                                                                                                                                                                        + Media & Telecom

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       A gas flare on an oil           LONDON, Feb 18 (Reuters) - UK-based maritime company
       production platform is
       seen alongside an
                                       Fleetscape is investigating the possible transfer of Iranian oil
       Iranian flag in the Gulf        to a tanker it finances, the Oaktree Capital Management-
       July 25, 2005.
                                       backed firm said after allegations by a U.S. advocacy group.
       REUTERS/Raheb
       Homavandi
                                       Top oil shipping companies say they are grappling with a
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                                       A breach of U.S. sanctions could mean a company faces
                                       sanctions such as losing access to the dollar financial system,
                                       having assets seized, and having insurance cover for ships
                                       canceled, U.S. and insurance industry officials say.


                                       United Against Nuclear Iran (UANI), which monitors Iran-
                                       related tanker traffic through ship and satellite tracking,
                                       alerted Oaktree of the issue in a Feb. 15 letter seen by
                                       Reuters.


                                       UANI said in the letter it believed there had been a transfer of
                                       Iranian oil to Fleetscape's Suez Rajan tanker from a vessel
                                       called the Virgo on Feb. 13.


                                       UANI said the Virgo was suspected of picking up oil from
                                       Iran's Kharg Island terminal on Jan. 22.


                                       UANI did not say how much oil was believed to be loaded.
                                       Shipping data showed the Suez Rajan was able to carry a
                                       maximum of nearly 1 million barrels of oil.


                                       A spokesperson for Fleetscape said: "We take any allegation
                                       of non-compliance very seriously and are cooperating fully
                                       with the U.S. authorities in a thorough investigation into this
                                       matter".


                                       LEASE FINANCE


                                       The spokesperson said the Suez Rajan was operated and
                                       managed by Greece-based Empire Navigation.


                                       "Fleetscape is a provider of lease financing to Empire
                                       Navigation, and has no role in the operation of Empire’s
                                       fleet," the spokesperson said.


                                       Empire Navigation did not immediately respond to requests
                                       for comment.


                                       One of Suez Rajan’s insurers, UK P&I Club, separately told
                                       Reuters it had been "alerted to the nature of this
                                       transshipment" and was investigating the matter.


                                       The tanker last reported its position on Feb. 16 near the
                                       Singapore Strait and showed it was close to being fully laden
                                       with oil, ship tracking data on Eikon showed.


                                       The U.S. Treasury and State Department declined to
                                       comment and the owners of the Virgo could not be located
                                       for comment.


                                       The Department of Homeland Security also did not respond
                                       to requests for comment.


                                       Accidental transfers of Iranian oil involving U.S. companies
                                       are rare.


                                       In January, U.S. ship certification company ABS said it had
                                       withdrawn the environmental and safety classification for two
                                       tankers due to Iranian oil shipments.


                                       Last year Denmark's Maersk Tankers said it halted two
                                       separate oil transfers involving two vessels it managed after
                                       being alerted by UANI that the origin of the oil was Iranian.


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                                       Additional reporting by Timothy Gardner in Washington and George
                                       Georgiopoulos in Athens; Editing by Pratima Desai and David Holmes


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                                                                                                                           February 23, 2022                                        February 23, 2022




  Oil tops $105/bbl after Russia attacks
  Ukraine
  February 24, 2022
                                                                                                                           Energy                                                   Energy
  Oil prices jumped on Thursday, with Brent rising above $105 a barrel for the                                             Exxon's workforce falls by 9,000 in                      Colombia's Grupo Argos posts Q4
  first time since 2014 before easing, after Russia's attack on Ukraine                                                    2021 amid cost cuts                                      profit after year-ago loss
                                                                                                                           February 23, 2022                                        February 23, 2022
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